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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT
                            ATLANTA DIVISION

UNITED STATES OF AMERICA,                 :
                                          :
             Plaintiff,                   :
                                          :
      v.                                  :   CASE 1:20-CR-481-SCJ-RDC
                                          :
ARTHUR LEE COFIELD                        :
                                          :
             Defendant.                   :

             MOTION TO CANCEL EVIDENTIARY HEARING

    Defendant Cofield moves the Court to cancel the evidentiary hearing scheduled

for July 8, 2022, and in support thereof states as follows:

   1. The defendant filed a Motion to Suppress Fruits of a Warrantless Cell Phone

Search and Supporting Authority [Doc. 79]. The government responded to the

motion during a pretrial conference.

   2. The government’s response raises the issue of “standing.” The evidentiary

hearing was scheduled for the defendant to present evidence on this issue.

   3. Upon further consideration, the defendant has decided not to present evidence

on the issue of “standing.” This obviates the need for the hearing.

   WHEREFORE, the defendant moves that the evidentiary hearing be cancelled.
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   This 5th day of July, 2022.
                                        Respectfully submitted,
                                        /s/ Steven H. Sadow
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                          CERTIFICATE OF SERVICE
      I hereby certify that on July 5, 2022, the foregoing was filed electronically

with the Clerk of Court using the CM/ECF e-filing system, which automatically

sends e-mail notification to all parties of record.

                                           /s/ Steven H. Sadow
                                           STEVEN H. SADOW
